Case 1:17-mc-01466-BAH Document 1 Filed 06/19/17 Page 1 of 21

UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA

 

IN RE APPLICATION OF

HULLEY ENTERPRISES LTD.,

59-61 Acropolis Avenue

3rd Floor, Office 301

2012 Strovolos, Nicosia, Republic of Cyprus

YUKOS UNIVERSAL LTD., and
First Names House

Victoria Road, Douglas
IM2 4DF, Isle of Man

Misc. Action No.

VETERAN PETROLEUM LTD.,
Spyrou Kyprianou 20A

Chapo Central, 1st Floor, Office 3
1075 Nicosia, Republic of Cyprus

FOR AN ORDER PURSUANT TO 28 U.S.C.
§ 1782 TO CONDUCT DISCOVERY FOR USE
IN A FOREIGN PROCEEDING

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HULLEY ENTERPRISES, LTD., YUKOS UNIVERSAL LTD., AND VETERAN
PETROLEUM LTD.’S APPLICATION FOR AN ORDER PURSUANT TO
28 U.S.C. § 1782 TO CONDUCT DISCOVERY FOR USE IN A FOREIGN
PROCEEDING AND STATEMENT OF POINTS AND AUTHORITIES
IN SUPPORT THEREOF

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Case 1:17-mc-01466-BAH Document 1 Filed 06/19/17 Page 2 of 21

TABLE OF CONTENTS
I. BACKGROUND ivissccsssscsensesecessevensccssevscssstocsssssonsosaserersssssacdbascsuenesisddaansbesvandeuntscsssepsennseens 3
A. THE FOREIGN PROCEEDING. .....cccscssessestseseeesseeseseeeseensensssneeseetasesaseenseeseesenes 3
B. ROSNEFT, THE RUSSIAN FEDERATION, AND ITS AGENTS ......cssessssesseeses 4
C. THE WITNESSEG.......cscsssecersssessnsesscsssccnsnsecsseusecenceeossnenseaenanentaconasensageecssnagensonsneees 8
Il. ARGUMENT wissssscasessasccnsecesssvncrscsesvccsessecsessnossessnssensosserisnessabanasicsssdsacssvendbesascasiissenessesensaee 9

A. THE APPLICATION SATISFIES THE STATUTORY REQUIREMENTS
OF SECTION 1782 ....cssssscesserssseessesssssnesssensensessressesenseaesanseassensnnensseressenseeeenssenseses 10

1. Baker Botts and Mr. Bull are Found Within the District for the
District of Columbia .......ccccccssssesseessesesessseesesessessnesssessecssncsaneeaseasansuensaneaanes 10

2. The Application Seeks Discovery For Use in an Ongoing Proceeding

Before a Foreign or International Tribunal.............cscsscssessesserssstenseneees 11
So: The Petitioners are Interested Persons in the Proceedings Before a
Foreign or International Tribunal ...........sccscesesssererenrensessnsaseseaseesssssassnsases 12

B. THE DISCRETIONARY FACTORS MAKE CLEAR THE APPLICATION
SHOULD BE GRANTED.......cscccsssssssssssecsssssenssessessenstesenssnssensnsoneaeneuensngennensagenees 12

1. Neither Baker Botts Nor Mr. Bull is a Party to the Dutch Appellate

PTOCECCING .......ccssecssssesscerscserssensnecenacssoresensensonsenensesererasuecsssbaensensseosansossees 13
2: The Dutch Courts Would be Receptive to U.S. Judicial Assistance ......... 13
3. The Application is Not an Attempt to Circumvent Restrictions on

DiSCOVELY wsciisscvisnssssiscerssisessssuncenvssctesnosinseansononscaenensvasnsnonerarsauongqnornengpegnenys 15
4. The Application is Narrowly Tailored........scssssssseesseseseneneneestsenenseenensenes 16

TIL.  ©§ CONCLUSION Qu... csscsessscersssenscsnsscessessnssseesaceseseseeseesenesencensnsserssegeesereseeesanestencusanensesces 17
Case 1:17-mc-01466-BAH Document 1 Filed 06/19/17 Page 3 of 21

TABLE OF AUTHORITIES
Page
Cases
In re Application of Operacion y Supervision de Hoteles SA de CV, No. 14 Misc.

82 (PGG), 2015 WL 82007 (S.D.N.Y. Jan. 6, 2015).....essessecsseseseseereeeeseeeseansnaensasessneeenenesenes 15
In re Application of Vickers Holding & Fin. Inc., No. 17-mc-80028 (N.D. Cal.

Mar. 14, 2017) sssesssssssessnscssencsesoncnsocenecnssovsnosnsesusensennsonesensngneevooneoongpeosassogpucnssocnnenesonsssnnssasaneiaess 14
Cryolife, Inc. v. Tenaxis Med., Inc., No. Co8-05124-HRL, 2009 WL 88348 (N.D.

Cal. Jan. 13, 2009) sessssssssssssccvsvsorsesnesaccescsssusssseisisvessensheebasnsbussssanssssesnecusaansonspsesonseonensenssonsnense 16
In re Duizendstraal, No. Civ. 395-MC-150, 1996 WL 772508 (N.D. Tex. Mar. 4,

1996) ...scsssccsssesscscecersseserssssesscceceesssscssssvsssesssecsssesssoesesnecsaeasacsreceseacsaacassrsesssarotocssssesenenassanenenens® 14
Ecuadorian Plaintiffs v. Chevron Corp., 619 F.3d 373 (Sth Cir. 2010)......sssscsssesetesenenenssenneneeees 14
Euromepa S.A. v. R. Esmerian, Inc., 51 F.3d 1095 (2d Cir. 1995)....ssssssscsssererseenereesesnseenseensnsnees 14
In re Gemeinshcaftspraxis Dr. Med. Schottdorf, No. Civ. M19-88 (BSJ), 2006

WL 3844464 (S.D.N.Y. Dec. 29, 2009) ....ccsssssscsereseseresessseressnensnenssssesssenssenensseaserensassnseseresonses 14
Gushlak v. Gushlak, Nos. 11-2584-cv, 11-3808-cv, 2012 WL 2549813 (2d Cir.

July 3, 2012) ....eesesssssessscessorsssssessesessescsssessseusssnecssesessersocsrsreneceseseseneasensneseasssenscnseaonanaseeseeseasnas 2
HAT S.R.L. v. Valesco, 125 F. Supp. 3d. 211 (D.D.C. 2015).....ccccccecesesensteenetenessenenenetenensensaaneneees 10
HT S.R.L. v. Velasco, 125 F. Supp. 3d 221 (D.D.C. 2015).....ccsesesssseseneeeesesesenseneneessenenenssssensensess 11
In re Application of 000 Promnefstroy, Misc. No. M 19-99 (RJS), 2009 WL

3335608 (S.D.N.Y. Oct. 15, 2009) ......scccscsssccesssseseessrsnessnesesenesseseassessesnsnasnsensaseseusansseseserseess 13
In re Application of Republic of Kazakhstan for an Order Directing Discovery

from Clyde & Co LLP Pursuant to 28 U.S.C. $1782, 15 Misc. 0081 (SHS)

(S.D.N-Y. June 22, 2015) ....ccscssssvevsssssssccsessseesesresceeerersnensseseseasssenenesenessesesensnssnonsnsasssasensesececs 11
*Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241 (2004).......ssssscssesereessenenenrsese POSSUM
In re Letter of Request from Crown Prosecution Serv. of U.K., 870 F.2d 686 (D.C.

Cir. 1989)... seesesssserssssssosscssssscesssssossssssssnsusussscessscseusesesesscaseeseacseasensarassesseqsecsenenenacsesseanaenontecees 10
In re Letters Rogatory from Tokyo Dist., Tokyo, Japan, 539 F.2d 1216 (9th Cir.

1976) ...scssssssescsesccscsenerscsessscseesecsseesscscsesescnenssesssesarsenensbendedsessaessssnssesssuaedusasecseusecssesecasenanasosnseansens 2
In re Microsoft Corp., 428 F. Supp. 2d 188 (S.D.N.Y. 2006).......sscsessesesesesssereneneneenentenstenarentnes 13
Case 1:17-mc-01466-BAH Document 1 Filed 06/19/17 Page 4 of 21

Minatec Fin. S.A.R.L. v. SI Grp. Inc., No. 1:08-CV-269, 2008 WL 3884374

(N.D.N.Y. Aug. 18, 2008) ......sscsssessssesssssssseeeseseeneseeteneseesensenenssssneasecensaneueneorenesenseneaeanenensenennes 15
Nat’! Broad. Co., v. Bear Stearns & Co., 165 F.3d 184 (2d Cir. 1999) ....scccscsssseceseereseeeesseseasens 12
In re Roz Trading Ltd., 469 F. Supp. 2d 1221 (N.D. Ga. 2006) ....s.sersseseeessesreneneensnennsnsneenseees 15, 16
In re Sealed Appellant, No. 07-10881, 2007 WL 4245417 (Sth Cir. Dec. 3, 2007)......sesseeseenees 15
In re Varian Med. Sys. Int’LAG, No. 16-mc-80048-MEJ, 2016 WL 1161568

(N.D. Cal. Mar. 24, 2016).....sscssssssssssssessssesssnsnsnenenssrenenssnsnssnensnsneersnsnnsneessnensssenanennsacesensansnees 14
Statutes
#28 U.S.C. § 1782 (1996)...csscssssssssecessnssevcssosssnscsssssnsovabecsussnssnsssisoussbeansensshessssssesnsovsconaseceeses POSSUM
Rules
Fed. R. Civ. P. 26..cccccsssssssscescscesesesssesnsearscsacssseaeesnsaseassansenesnanseseeseeneaesueneeneenenacsavausaansesasaucasnaseeneseess 1
Fed. R. Civ. P. 30......:::ccsssscsssseeseseecesesseeesssansensaseeseeeeseseaeeseeessraneessseesensseenenuseeneceseeseaeeesseensaasensuatennags 1
Fed. R. Civ. P. 34. .ccsssssscscssesssssesssssscsessstescecssesesssstsonssusnssessssvecneonsnenstsceensenasersnenpequegnesneeneepanaasenaneesens 1
Fed. R. Civ. P. 45 viccsccssscssessesssscssesssseecesssaceaevacasnesscenssecnscesecerescenseassecasessensnansasaneatasnassassansasessenes 1,2

ii
Case 1:17-mc-01466-BAH Document 1 Filed 06/19/17 Page 5 of 21

Petitioners Hulley Enterprises Ltd., Yukos Universal Ltd., and Veteran Petroleum Ltd.
(collectively, “Petitioners”) make this ex parte application (“Application”) pursuant to 28
U.S.C. § 1782 (1996) (“Section 1782”) and Fed. R. Civ. P. 26, 30, 34, and 45, for leave to serve
subpoenas for the production of documents and the taking of deposition testimony on: (a) Baker
Botts LLP (“Baker Botts”), at its office located at 1299 Pennsylvania Avenue, N.W.,
Washington, D.C., 20004; and (b) Mr. Ryan E. Bull, (“Mr. Bull”) a partner in the Washington,
D.C. office of Baker Botts, (collectively, the “Witnesses”). The requested subpoenas seek
evidence for use in connection with Veteran Petroleum Limited, Yukos Universal Limited, Hulley
Enterprises Limited v. The Russian Federation, Case No. 200.197.079/01, an ongoing litigation
pending in the Court of Appeal of The Hague (“Dutch Appellate Proceeding”).

As discussed below, the Dutch Appellate Proceeding relates to the set aside of arbitration
awards issued to the Petitioners against the Russian Federation for damages in excess of US $50
billion. The arbitration awards were set aside by the District Court of The Hague (the “Dutch
District Court”), and the Petitioners seek their reinstatement. The evidence sought through this
Application will allow the Court of Appeal of The Hague (“Dutch Appellate Court”) to fully
and fairly assess the conduct of the Russian Federation in its dealings with foreign courts. In
particular, Petitioners seek evidence relating to the Russian Federation’s efforts, both directly
and through its agents, to interfere with and manipulate Armenian courts in order to obtain
favorable judgments and influence related cases then pending in the Dutch courts. Baker Botts,
Mr. Bull, and other individuals employed by Baker Botts allegedly were involved in those efforts
and would possess both documentary evidence and direct knowledge relating to this issue.

Petitioner may submit its Application ex parte. It is well established that Section 1782

applications may be submitted and granted on an ex parte basis. Gushlak v. Gushlak, Nos. 11-
Case 1:17-mc-01466-BAH Document 1 Filed 06/19/17 Page 6 of 21

2584-cv, 11-3808-cv, 2012 WL 2549813, at *1 (2d Cir. July 3, 2012) (“[I]t is neither uncommon
nor improper for district courts to grant applications made pursuant to § 1782 ex parte.”). Courts
are willing to act ex parte in these circumstances because the rights of the party from whom
discovery is sought are fully protected. Any discovery conducted pursuant to a Section 1782
subpoena must comply with the requirements of Fed. R. Civ. P. 45. As such, the targets of such
subpoenas have ample opportunity to move to quash the subpoenas. In re Letters Rogatory from
Tokyo Dist., Tokyo, Japan, 539 F.2d 1216, 1219 (9th Cir. 1976) (holding that applications for
subpoenas pursuant to section 1782 may be filed ex parte because “[t]he witnesses can...

raise[ ] objections and exercise[ ] their due process rights by motions to quash the subpoenas.”).
Such opportunity ensures that their due process rights are fully protected.

Jurisdiction is proper under Section 1782. Venue is proper because the Witnesses can be
found in the District of Columbia as described below in Section II. A. 1.

In support of this Application, the Petitioners have provided: a Declaration of
Christopher M. Ryan of Shearman & Sterling, counsel to Petitioners (“Ryan Decl.”), with
Exhibits 1-12 attached thereto, including a Subpoena to Baker Botts to Testify at a Deposition
for Use in a Foreign Proceeding (“Baker Botts Deposition Subpoena” — Exhibit 1); a Subpoena
to Mr. Bull to Testify at a Deposition For Use in a Foreign Proceeding (“Bull Deposition
Subpoena” — Exhibit 2); a Subpoena to Baker Botts to Produce Documents For Use in a Foreign
Proceeding (“Baker Botts Document Subpoena” — Exhibit 3); a Subpoena to Mr. Bull to
Produce Documents for Use in a Foreign Proceeding (“Bull Document Subpoena — Exhibit 4);
a Declaration of Marnix Leijten, of De Brauw Blackstone Westbroek N.V., Dutch counsel to
Petitioners (“Leijten Decl.”) with Exhibits 1-4 attached thereto; a Proposed Order; and other

relevant documentation.
Case 1:17-mc-01466-BAH Document 1 Filed 06/19/17 Page 7 of 21

I. BACKGROUND
A. THE FOREIGN PROCEEDINGS

On July 18, 2014, an arbitral tribunal (the “Tribunal”) sitting in The Hague,
unanimously concluded that the Russian Federation breached its international obligations under
the Energy Charter Treaty by bankrupting Yukos Oil Company (“Yukos”) and unlawfully
expropriating its assets. Leijten Decl. 16. The Tribunal ordered the Russian Federation to pay
more than US$ 50 billion in three awards (the “Awards”) to the Petitioners, the former majority
shareholders of Yukos, who had seen their investment in Yukos destroyed through fabricated tax
debts and an illegitimate bankruptcy, resulting in the vast majority of Yukos’ assets being
transferred to Russian state-owned oil and gas companies Rosneft and Gazprom. Id.

The Russian Federation filed an action to set aside the Awards in the District Court of
The Hague in the Netherlands (the “Dutch District Court”), the legal seat of the arbitration. Jd.
at 17. On April 20, 2016, the Dutch District Court issued a ruling (the “Dutch Judgment”) that
set-aside the Petitioners’ Awards on the ground that the Russian Federation had not bindingly
agreed to provisionally apply Article 26 of the Energy Charter Treaty — containing its arbitration
clause — prior to its ratification by the Russian legislature. Id. at 18, Exh. 3. The Dutch District
Court held that the arbitral tribunal lacked jurisdiction over the Petitioners’ claims. Id. at 18.

On July 18, 2016, the Petitioners appealed the Dutch Judgment. Jd. at 19. On March 14,
2017, the Petitioners filed their statement of grounds of appeal (“Statement of Appeal”). Id. at
110. The Russian Federation’s statement of defense on appeal (“Statement of Defense”) is due
on September 5, 2017. Id. The Petitioners will then have an opportunity to comment on any
new exhibits, expert reports, and witness statements the Russian Federation files with its
Statement of Defense, as both parties may brief the Dutch Appellate Court on whether the
Petitioners should have the right to respond to the substance of the Statement of Defense. Id.

3
Case 1:17-mc-01466-BAH Document 1 Filed 06/19/17 Page 8 of 21

Both parties are in any event entitled to submit new evidence which has come to light before the
merits hearing on appeal. Id. The Dutch Appellate Court has reserved two days for oral
pleadings or a potential case management conference as needed in each of December 2017, and
April and June 2018. Jd. at 111.

As discussed below in Section II. A. 2., the Dutch Appellate Court will decide the
Petitioners’ appeal de novo. As a result, all issues raised in the Dutch District Court, as well as
new issues, will be presented to the Dutch Appellate Court for review and determination. Id. at 1
12. In the Dutch District Court, the Russian Federation made numerous allegations of unclean
hands against the Petitioners in relation to the acquisition of their investment. Jd. The Russian
Federation has made clear that it intends to reargue this issue before the Dutch Appellate Court
and is likely to submit additional witness statement evidence in support of its position. Id. The
discovery Petitioners seek in this Application will be used in response to the Russian
Federation’s submissions in their Statement of Defense regarding unclean hands or for
submission by the Petitioners prior to the oral hearing on appeal as new evidence. Id. The
Petitioners believe the evidence sought in this Application will show efforts by the Russian
Federation to manipulate Armenian courts so as to influence proceedings before the Dutch
courts. The evidence produced will allow the Dutch Appellate Court to fully and fairly assess
the conduct of the Russian Federation in its dealings with foreign courts. Jd. at117. As
discussed below and in the Declaration of Marnix Leijten, Dutch appellate procedure allows for
the submission of new evidence and Dutch courts are open to receipt of evidence collected
through Section 1782.

B. ROSNEFT, THE RUSSIAN FEDERATION, AND ITS AGENTS

In 2010 and 2011, several cases involving various Yukos entities were pending in the

Armenian and Dutch courts. Press reports and publicly-available documents suggest that the

4
Case 1:17-mc-01466-BAH Document 1 Filed 06/19/17 Page 9 of 21

Russian Federation, through its agents, actively attempted to manipulate judges in the Armenian
courts to obtain favorable judgments and, in so doing, influence the outcome of related Dutch
proceedings. Indeed, as discussed below, the information details specific actions taken by the
Russian Federation and its agents in certain Armenian cases and shows a pattern of conduct
designed to manipulate legal proceedings in Armenia for advantage in a then-pending case in the
Netherlands.

Rosneft, one of the world’s largest publicly-traded petroleum companies, is and always
was majority-owned by the Russian Federation. According to press reports, Rosneft, acting
through counsel to the Russian Federation, arranged the outcome of several Yukos-related
judicial decisions in Armenia, with the result that at least one such judgment “influenced the
judicial process in the Netherlands.” Joep Dohmen, Renée Postma, Rosneft manipulated the
judicial process in The Netherlands, NRC (Nov. 24, 2016) (translated from original Dutch)
(“Article 1”), Ryan Decl. 1 11 (Exh. 9, p. 1). On November 24, 2016, NRC Handelsblad
(“NRC”), a leading Dutch newspaper, reported that in Armenia, “the company [did] not merely
use judges, but also the Public Prosecutor’s Office, the president’s office, and contacts within the
FSB, the Russian secret service.” Joep Dohmen, Renée Postma, How Rosneft Turned Rule of
Law to Its Own Advantage, NRC (Nov. 24, 2016) (“Article 2”) (translated from original Dutch),
Ryan Decl. 1 12 (Exh. 10, p. 3); id. at pp. 2, 4 (“The judgment of October 29, 2010... [from] the
Court of Cassation... [was] also spoon-fed to the judges,” a verdict which then “manipulate[ed]
the Dutch legal system.”). According to NRC, “[iJn total, the powerful Russian state-owned oil
company direct[ed] the verdicts in five cases in front of the court of appeal and the Court of

Cassation. Rosneft w[on] every single one of them.” Ryan Decl. 1 12 (Exh. 10, Article 2, p. 3).
Case 1:17-mc-01466-BAH Document1 Filed 06/19/17 Page 10 of 21

Judge Surik Ghazaryan (“Judge Ghazaryan”), who heard Yukos-related cases for the
district court with general jurisdiction for the Arabkir and Kanaker-Zeytun administrative
districts in Yerevan, the capital of Armenia, also confirmed the existence of such manipulation at
the district court level. Affidavit from Judge Ghazaryan, executed on October 19, 2012 in Los
Angeles, CA (“Ghazaryan Affidavit”), Ryan Decl. 1 12(b) (Exh. 10(2), 13). The NRC
reported that in his affidavit, submitted as part of a related Yukos matter in the Dutch courts,
Judge Ghazaryan explained the manipulation that occurred in one of his verdicts from February
2011 in “case 1494.” Ryan Decl. 1 12 (Exh. 10, Article 2, p. 2). In particular, he confirmed that
he was pressured by his superiors to issue judgments favorable to Rosneft, which was understood
to be the same as issuing a judgment favorable to Russia. Ryan Decl. 1 12(b) (Exh. 10(2),
Ghazaryan Affidavit 121). According to Judge Ghazaryan, such practices were a form of
“telephone justice,” a widespread practice in Armenia “in the Soviet period,” in which judges are
required to follow orders from more senior members of the judiciary. Id. at "14. Judge
Ghazaryan attests that he was pressured to ignore evidence, to rule in a certain manner, and, in at
least one instance, was handed a decision on a “memory card” by one of his superiors to be
issued in a Yukos-related case. Id. at 1117, 20-21. Ultimately, after receiving instructions to do
so, Judge Ghazaryan issued the judgment he had been given. Jd. at 121.

The Russian Federation’s efforts to manipulate the Armenian judiciary reportedly were
widespread and took varied forms. Reports show that Rosneft, facilitated by Armenian and
Russian government officials, including former members of the FSB, the Russian secret service,
“wrote judgments handed down by judges in Armenia in support of a claim in the millions
against the former owners and management of the dismantled Russian oil company Yukos before

the district court and court of appeals in Amsterdam.” Ryan Decl. 1 11 (Exh. 9, Article 1, p. 1).
Case 1:17-mc-01466-BAH Document1 Filed 06/19/17 Page 11 of 21

Reports further show that Rosneft’s efforts reflected:

[A] well-oiled machine that betrays the influence of the FSB secret
service. The emails portray former FSB captain Achkoebek Achkoebekov
— now employed by Rosneft — as someone skilled at making things run
smoothly, doing all kinds of odd jobs here and there. Using his private
email address, he forwards draft verdicts to the Rosneft attorneys and
maintains contacts with the Armenian government.

Ryan Decl. 1 12 (Exh. 10, Article 2, p. 3).
It also was reported that “Rosneft was assisted by the American legal firm Baker Botts
LLP and authorities in Armenia and Russia, including former members of the Russian secret
service FSB. This is evident from dozens of emails and documents in the possession of NRC.”
Ryan Decl. 1 11 (Exh. 9, Article 1, p. 1).
The key role played by the American law firm Baker Botts is remarkable.
The text of one of the decisions by the Court of Cassation was written in
the Baker Botts office in Moscow. The email correspondence shows how
an employee in that office acted as the ghostwriter of judgments. In this
manipulation, Rosneft relied on key figures in the judiciary and public
prosecution service in Armenia, as well as on the legal adviser of
Armenian President Serzh Sargsyan.
Id. at p. 2. Article 2 not only reveals the existence of this scheme to manipulate the
Armenian judiciary, but also how it was accomplished:
[T]he emails show exactly how this case was handled. From [Rosneft-
hired Armenian lawyer, Edward] Mouradian’s early-morning flight to icy
Moscow, to details on how the verdicts were honed and edited. Ryan

Bull, partner in the American law firm, and his employee Izabella
Sarkisyan also work[ed] on the verdicts from their Moscow office.

Ryan Decl. 1 12 (Exh. 10, Article 2, p. 3).
The Financial Times reported on November 28, 2016 that “Lawyers for Russia’s
state-controlled oil giant Rosneft ... manipulated a series of Armenian court rulings in

order to bolster its case in the west to seize hundreds of millions of dollars in assets
Case 1:17-mc-01466-BAH Document1 Filed 06/19/17 Page 12 of 21

belonging to the now-defunct private oil major Yukos ....” Catherine Belton, Michael
Stott, Rosneft lawyers Manipulate Yukos Rulings emails suggest, Financial Times,
November 28, 2016 (“Article 3”), Ryan Decl. 1 13 (Exh. 11, p. 1). The Financial Times
also reported that “the emails show Rosneft lawyers giving instructions to a senior
member of the Armenian justice system on the outcomes required in five Yukos-related
cases, Other emails show Rosneft lawyers working to draft rulings in advance for the
Armenian court in cases in 2010-11 over Rosneft’s takeover of Yukos CIS.” Id. at p. 2.

These reports are supported by documents submitted as part of a separate Dutch litigation
involving the forced bankruptcy of Yukos by the Russian Federation. See Ryan Decl. 1 11 (Exh.
9, Article 1, pp. 1-2); id. at 1 12 (Exh. 10, Article 2, p. 4). Indeed, these documents appear to
show Baker Botts and Mr. Bull’s participation in the Russian Federation’s efforts directed at the
Armenian courts. Id. at 1 12(h) (Exhs. 10(9)(a)-(b)). The Financial Times and NRC published
various official responses from individuals and entities named in their articles to take issue with
these reports. See Ryan Decl. 1 13 (Exh. 11, pp. 2, 5-6); id. at 1 12(i) (Exhs. 10(10)(a)-(10)(d)).

A letter from Cleary Gottlieb Steen & Hamilton LLP to the Tribunal on November 4,
2010, a timeframe concurrent to the events described in the Articles, confirms that Baker Botts
joined as counsel of record to represent the Russian Federation in the arbitration proceedings
before the Tribunal. Letter from Matthew D. Slater and Claudia Annacker of Cleary Gottlieb
Steen & Hamilton LLP, to L. Yves Fortier, Dr. Charles Poncet, and Judge Stephen M. Schwebel,
chairman and members of the Tribunal (Nov. 4, 2010), Ryan Decl. 11 14 (Exh. 12).

C. THE WITNESSES

Baker Botts LLP is located at 1299 Pennsylvania Avenue, N.W., Washington, D.C.

20004. Global Reach: Washington, BAKER BOTTS LLP,
Case 1:17-mc-01466-BAH Document1 Filed 06/19/17 Page 13 of 21

http://www. bakerbotts.com/offices/washington (last visited May 11, 2017), Ryan Decl. 17 (Exh.
5). Ms. Izabella Sarkisyan is an associate in the Baker Botts Moscow office, who worked with
Mr. Bull during the representation of Rosneft. Izabella Sarkisyan, BAKER BOTTS LLP,
http://www.bakerbotts.com/people/s/sarkisyan-izabella (last visited May 11, 2017), Ryan Decl. 1
10 (Exh. 8). Baker Botts has possession, custody, or control of Ms. Sarkisyan’s emails and other
documents. Mr. Bull is a partner in the Washington, D.C. office of Baker Botts LLP. Ryan E.
Bull, BAKER Botts LLP, http://www.bakerbotts.com/people/b/bull-ryan-e (last visited May 11,
2017). Ryan Decl. 1 9 (Exh. 7).

The Petitioners believe that Mr. Bull and Baker Botts have in their possession, custody,
or control evidence that relates to efforts by the Russian Federation, both directly and through its
agents, to interfere with and manipulate foreign judicial proceedings for the benefit of the
Russian Federation. Neither Baker Botts nor Mr. Bull is a party to the litigation in the Dutch
Appellate Proceeding.

Il. ARGUMENT

Section 1782 permits U.S. courts to grant discovery in aid of foreign and international
legal proceedings. The statute provides, in relevant part:

The district court of the district in which a person resides or is found may
order him to give his testimony or statement or to produce a document or
other thing for use in a proceeding in a foreign or international tribunal,
including criminal investigations conducted before formal accusations.
The order may be pursuant to a letter rogatory issued, or request made, by
a foreign or international tribunal or upon the application of any interested
person and may direct that the testimony or statement be given, or the
document or other thing be produced, before a person appointed by the
court.

28 U.S.C. §1782(a) (1996).
Section 1782 applies broadly in the context of international litigation and was intended to

ease the burden of obtaining judicial assistance in aid of such proceedings. See HT S.R.L. v.

9
Case 1:17-mc-01466-BAH Document1 Filed 06/19/17 Page 14 of 21

Valesco, 125 F. Supp. 3d. 211, 219 (D.D.C. 2015) (noting the statute has, over the years, been
amended to “substantially broaden[] the scope of assistance.”). Indeed, as the United States
Court of Appeals for the District of Columbia Circuit has stated, Section 1782 “liberalizes
existing U.S. procedures for assisting foreign and international tribunals and litigants in
obtaining oral and documentary evidence in the United States.” In re Letter of Request from
Crown Prosecution Serv. of U.K., 870 F.2d 686, 693 (D.C. Cir. 1989).

This Application satisfies both the statutory requisites of Section 1782(a) and the
discretionary factors cited by the Supreme Court in Intel Corp. v. Advanced Micro Devices, Inc.,
542 USS. 241, 244-45, 264-65 (2004). Accordingly, this Court should authorize the Petitioners to
issue subpoenas for the production of documents and taking of depositions to Baker Botts and
Mr. Bull.

A. THE APPLICATION SATISFIES THE STATUTORY REQUIREMENTS
OF SECTION 1782

Three statutory conditions must be met before a court may order discovery pursuant to
Section 1782(a): (1) the party from whom discovery is sought must “reside” or be “found” in the
district in which the District Court sits; (2) the request for discovery must be “for use in a
proceeding in a foreign or international tribunal”; and (3) the applicant must be a foreign or
international tribunal, or an “interested person” in the foreign proceedings. 28 U.S.C. § 1782(a)
(1996). Each of these requirements is met.

1. Baker Botts and Mr. Bull are Found Within the District for the
District of Columbia

Baker Botts is a global law firm with approximately 725 attorneys in 14 offices
worldwide. See About Us: Overview, BAKER BOTTS LLP,
http://www.bakerbotts.com/aboutus/overview (last visited May 11, 2017), Ryan Decl. 18 (Exh.
6). The firm has had an office in the District of Columbia since 1973. See Global Reach:

10
Case 1:17-mc-01466-BAH Document1 Filed 06/19/17 Page 15 of 21

Washington, BAKER Botts LLP, http://www.bakerbotts.com/offices/washington (last visited
May 11, 2017), Ryan Decl. 17 (Exh. 5). Today, the Washington, D.C. office of Baker Botts
employs approximately 130 attorneys and is located at 1299 Pennsylvania Avenue, N.W. The
firm’s persistent presence in the District of Columbia, as well as the systematic and continuous
practice of law by its partners in the District, establishes that Baker Botts may be “found” in the
District of Columbia for purposes of Section 1782. In re Application of Republic of Kazakhstan
for an Order Directing Discovery from Clyde & Co LLP Pursuant to 28 U.S.C. $1782, 15 Misc.
0081 (SHS) (S.D.N.Y. June 22, 2015).

An individual may be “found” wherever he or she is physically present, even if
temporary, when officially notified of the request. HT S.R.L. v. Velasco, 125 F. Supp. 3d 211,
222 (D.D.C. 2015). Mr. Bull is a partner in Baker Botts Washington, D.C. office. See Ryan E.
Bull, BAKER BOTTS LLP, http://www.bakerbotts.com/people/b/bull-ryan-e (last visited May 11,
2017), Ryan Decl. 1 9 (Exh. 7). Mr. Bull is admitted to the bar of the District of Columbia, as
well as to the bars of this Court and the Court of Appeals for the D.C. Circuit. See id. Mr. Bull
may be “found” in the District of Columbia for purposes of Section 1782.

2. The Application Seeks Discovery For Use in an Ongoing Proceeding
Before a Foreign or International Tribunal

The Petitioners are parties to the Dutch Appellate Proceeding, which relates to the set
aside of arbitration awards totaling US $50 billion. There is no dispute that a foreign court, like
the Dutch Appellate Court, is a “foreign or international tribunal” within the meaning of Section
1782. See Intel, 542 U.S. at 257 (holding that it is “[b]eyond question” that conventional courts
of first instance “qualify as tribunals”); Nat’l Broad. Co., v. Bear Stearns & Co., 165 F.3d 184,
190 (2d Cir. 1999) (the drafters of the amended Section 1782 “intended to cover governmental or

intergovernmental arbitral tribunals and conventional courts and other state-sponsored

11
Case 1:17-mc-01466-BAH Document1 Filed 06/19/17 Page 16 of 21

adjudicatory bodies”) (emphasis added).

The Dutch Appellate Court will decide the question of whether the Awards should be set
aside de nove: Leijten Decl. 11.9, 12. Under Dutch appellate procedures, the court will receive
evidence and arguments, including new evidence and arguments not presented in the court of
first instance. Id. In addition, the court will decide all issues raised by the parties, not only those
relied upon by the Dutch District Court in reaching its decision. Jd. at 19.

Marnix Leijten, counsel for the Petitioners in the Dutch Appellate Proceeding, has
confirmed that the evidence sought through this Application would be used in support of the
Petitioners’ case. Id. at 112. According to Mr. Leijten, the Petitioners will have the opportunity
to submit new evidence in the Dutch Appellate Proceedings as soon as new evidence has come to
light. Id. at 1 10.

3. The Petitioners are Interested Persons in the Proceedings Before a
Foreign or International Tribunal

As stated, the Petitioners are parties to the Dutch Appellate Proceeding. The Petitioners,
therefore, are “interested person[s]” within the meaning of Section 1782. Intel, 542 U.S. at 256
(“No doubt litigants are included among, and may be the most common example of, the

‘interested person[s]’ who may invoke § 1782.”).

B. THE DISCRETIONARY FACTORS MAKE CLEAR THE APPLICATION
SHOULD BE GRANTED

Where, as here, the statutory requirements are met, courts balance four discretionary
factors in deciding whether to grant a Section 1782 application: (1) whether the entity from
whom evidence is sought is a party to the foreign proceeding; (2) “the nature of the foreign
tribunal, the character of the proceedings underway abroad, and the receptivity of the foreign

government or the court or agency abroad to federal-court judicial assistance”; (3) whether the

12
Case 1:17-mc-01466-BAH Document1 Filed 06/19/17 Page 17 of 21

discovery request “conceals an attempt to circumvent” specific foreign restrictions or foreign or
United States policies; and (4) whether the discovery requests are “unduly intrusive or
burdensome.” Intel, 542 U.S. at 244-45, 264-65. As detailed below, these factors clearly favor
granting the Petitioners’ request.

1, Neither Baker Botts Nor Mr. Bull is a Party to the Dutch Appellate
Proceeding

Neither Baker Botts nor Mr. Bull is a party to the Dutch Appellate Proceeding. See
Leijten Decl. 113 (Exhs. 2(a)-(c)); id. at 18. See Intel, 542 U.S. at 244 (noting that
“nonparticipants in foreign proceedings may be outside the foreign tribunal’s jurisdictional
reach; thus, their evidence, available in the United States, may be unobtainable absent § 1782(a)
aid.”). Likewise, it does not appear that either Baker Botts or Mr. Bull would be subject to the
compulsory jurisdiction of the Dutch courts. See Leijten Decl. 19 3, 18. As such, the documents
and testimony sought in this Application are outside the control of the Dutch courts. The
Petitioners, therefore, require this Court’s assistance to obtain discovery from both Baker Botts
and Mr. Bull. In re Microsoft Corp., 428 F. Supp. 2d 188, 192 (S.D.N.Y. 2006) (assessing
“whether the documents or testimony sought are within the foreign tribunal’s jurisdictional
reach, and thus accessible absent § 1782 aid.”); In re Application of 000 Promnefstroy, Misc. No.
M 19-99 (RJS), 2009 WL 3335608, at *5 (S.D.N.Y. Oct. 15, 2009) (“[ijt is the foreign tribunal’s
ability to control the evidence and order production, not the nominal target of the § 1782
application, on which the district court should focus.”).

2. The Dutch Courts Would be Receptive to U.S. Judicial Assistance

Courts typically will grant a Section 1782 application unless it is clear that the foreign
tribunal will not admit the evidence obtained through the process. Euromepa S.A. v. R.

Esmerian, Inc., 51 F.3d 1095, 1100 (2d Cir. 1995) (finding that a “court’s inquiry into

13
Case 1:17-mc-01466-BAH Document1 Filed 06/19/17 Page 18 of 21

discoverability of requested materials should consider only authoritative proof that a foreign
tribunal would reject evidence obtained with the aid of section 1782,” such as “judicial,
executive or legislative declarations that specifically address the use of evidence gathered under
foreign procedures.”); see also Ecuadorian Plaintiffs v. Chevron Corp., 619 F.3d 373, 378 (Sth
Cir. 2010). Where “[t]here is no information that the [foreign] court would reject information
obtained through §1782 discovery . . . courts [should] ‘err on the side of permitting discovery.”
Order Granting Petitioner’s Application for an Order to Conduct Discovery for Use in a Foreign
Legal Proceeding Pursuant to 28 U.S.C. § 1782 at 5, In re Application of Vickers Holding & Fin.
Inc., No. 17-mc-80028 (N.D. Cal. Mar. 14, 2017), ECF No. 4 (citing Jn re Varian Med. Sys. Int’l
AG, No. 16-mc-80048-ME]J, 2016 WL 1161568, at *4 (N.D. Cal. Mar. 24, 2016)).

There is no reason to suspect that the Dutch courts would not be receptive to documents
produced as a result of this Application. First, Dutch counsel has indicated that, as a matter of
Dutch appellate practice, evidence may be submitted in support of a party’s appeal before the
Dutch Appellate Court. Leijten Decl. 19. He has further stated that this Application and the use
of documents or testimony produced as a result thereof, would not violate any Dutch laws or
regulations. Id. at 1 15; see In re Duizendstraal, No. Civ. 395-MC-150, 1996 WL 772508, *1
(N.D. Tex. Mar. 4, 1996) (“{iJn determining whether the information sought is discoverable, the
Court should consider only authoritative proof that a foreign tribunal would reject evidence
obtained under” Section 1782); see also In re Gemeinshcaftspraxis Dr. Med. Schottdorf, No. Civ.
M19-88 (BSJ), 2006 WL 3844464, at *6 (S.D.N.Y. Dec. 29, 2009) (courts should deny a request
on this basis only when there is “authoritative proof” that the foreign tribunal does not allow

introduction of the materials sought). To the contrary, Dutch courts have held that parties to

Dutch legal proceedings may rely on Section 1782 applications as a valid means of obtaining

14
Case 1:17-mc-01466-BAH Document1 Filed 06/19/17 Page 19 of 21

evidence. Leijten Decl. 9 14.

Second, there are no similar applications for documents pending in the Dutch Appellate
Proceeding that would militate in favor of deferring to those courts. Id. at 1 18; cf: In re Sealed
Appellant, No. 07-10881, 2007 WL 4245417, at *1 (5th Cir. Dec. 3, 2007) (rejecting Section
1782 application where foreign court was considering same discovery request).

3. The Application is Not an Attempt to Circumvent Restrictions on
Discovery

The Supreme Court has cautioned that Section 1782 applications should not be granted
where the applicant is seeking to circumvent specific restrictions on the discovery sought. Intel,
542 U.S. at 244-45, 264-65; In re Application of Operacion y Supervision de Hoteles SA de CV,
No. 14 Misc. 82 (PGG), 2015 WL 82007, at *7 (S.D.N.Y. Jan. 6, 2015) (citations omitted)
(“[C]ase law suggests that the primary focus of the third Intel factor is not circumvention of U.S.
policies, but rather whether a party is engaging in ‘blatant end-run[s] around ‘foreign proof-
gathering restrictions or other policies of a foreign country.’”).

That is not the case here. Because Baker Botts and Mr. Bull are not parties to the Dutch
Appellate Proceeding, there may be no other way to get this information outside of an order from
this Court. See Minatec Fin. S.A.R.L. v. SI Grp. Inc., No. 1:08-CV-269, 2008 WL 3884374, at
*8 (N.D.N.Y. Aug. 18, 2008) (there is no “foreign tribunal exhaustion requirement nor any
explicit direction .... The primary issue for us is whether [the applicant] is pursuing this
discovery in bad faith.”); In re Roz Trading Ltd., 469 F. Supp. 2d 1221, 1229-30 (N.D. Ga.
2006) (“Section 1782(a) does not contain an exhaustion requirement. The Petitioner meets the
requirements of the statute, and is thus entitled under the present circumstances to seek judicial
assistance for use in the foreign proceeding, regardless of other discovery means that may be

available.”).

15
Case 1:17-mc-01466-BAH Document1 Filed 06/19/17 Page 20 of 21

4. The Application is Narrowly Tailored

The Application is narrowly tailored to seek only documents and testimony relating to the
Russian Federation’s effort, both directly and through its agents, to manipulate to its advantage
foreign judicial proceedings in relation to its destruction of Yukos. This evidence bears directly
on the trustworthiness of the Russian Federation generally and the weight that can be accorded to
its submissions in the Dutch Appellate Proceedings.

As noted above, publicly available documents suggest that Baker Botts generally, and
Mr. Bull specifically, communicated with Rosneft and other agents of the Russian Federation to
manipulate one or more decisions of the Armenian courts to gain strategic advantage in the
Dutch courts. These communications, as well as others like them and related testimony, go to
the heart of the Russian Federation’s conduct in relation to Yukos and to issues pertinent to the
Dutch Appellate Proceeding.

Further, as reflected in the attached subpoenas, Petitioners have narrowly tailored their
requests to specific time periods and to individuals identified in publicly available documents as
having participated in the relevant communications. As such, the requested documents are
clearly discoverable under Section 1782. See, e.g., Cryolife, Inc. v. Tenaxis Med., Inc., No. Co8-
05124-HRL, 2009 WL 88348, at *4 (N.D. Cal. Jan. 13, 2009) (noting applicant is only required
to show that the information would be “useful” in the foreign proceeding); In re Roz Trading,
469 F. Supp. 2d at 1230 (noting that the documents requested need only be “generally relevant to

the dispute”).

16
Case 1:17-mc-01466-BAH Document1 Filed 06/19/17 Page 21 of 21

Hl. CONCLUSION

For the reasons stated herein, Petitioners respectfully request that the Court:

(1) Grant Petitioners’ Application for discovery pursuant to 28 U.S.C. § 1782;

(2) Authorize Petitioners, through undersigned counsel or their agents, to issue and serve

subpoenas upon Mr. Bull and Baker Botts LLP in substantially the same form as attached to the

Declaration of Christopher M. Ryan as Exhibits 1-4 to take discovery relating to the issues

identified in this Application; and

(3) Direct the Witnesses Mr. Bull and Baker Botts LLP to comply with such subpoenas in

accordance with the Federal Rules of Civil Procedure and the Rules of this Court.

Dated: June /7, 2017

Respectfully Submitted,

 

 

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17
